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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 ARM LTD.,                                            )
                                                      )
                        Plaintiff,                    )
                                                      )
        v.                                            )   C.A. No. 22-1146 (MN)
                                                      )
 QUALCOMM INC., QUALCOMM                              )
 TECHNOLOGIES, INC. and NUVIA, INC.,                  )
                                                      )
                        Defendants.                   )


          JOINT STIPULATION ON CONFIDENTIALITY OF SETTLEMENT
                              DISCUSSIONS

        WHEREAS, on October 30, 2024, the Court ordered Arm Ltd. (“Arm”) and Qualcomm

 Inc., Qualcomm Technologies, Inc. and Nuvia, Inc. (collectively, the “Defendants” and, together

 with Arm, the “Parties”) to hold additional in-person settlement talks; and

        WHEREAS, the Parties intend to meet in-person on November 14, 2024 (the “Meeting”),

 consistent with the Court’s order and may, in advance or after the Meeting, hold additional

 discussions to prepare for and follow up on the Meeting;

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between

 the Parties, through their undersigned counsel, as follows:

        1.      All communications between the Parties relating to the Meeting, whether

 procedural or substantive, whether written or oral, and whether before, during, or after the Meeting,

 are confidential and shall not be used in the present litigation nor any other litigation (whether

 presently pending or filed in the future); and

        2.      Nothing in this Agreement should be construed as prohibiting a Party from

 describing, in a letter to the Court as required by the Court’s October 30 Order, the following: (i)




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 who participated in the Meeting; (ii) where the Meeting took place; (iii) the length of the Meeting;

 and (iv) whether any productive discussions occurred in the Meeting.


 Dated: November 12, 2024

 YOUNG CONAWAY STARGATT &                             MORRIS, NICHOLS, ARSHT &
 TAYLOR, LLP                                          TUNNELL LLP

  /s/ Anne Shea Gaza                                   /s/ Jennifer Ying
 Anne Shea Gaza (No. 4093)                            Jack B. Blumenfeld (#1014)
 Robert M. Vrana (No. 5666)                           Jennifer Ying (#5550)
 Samantha G. Wilson (No. 5816)                        Travis Murray (#6882)
 Rodney Square                                        1201 North Market Street
 1000 North King Street                               P.O. Box 1347
 Wilmington, DE 19801                                 Wilmington, DE 19899
 (302) 571-6727                                       (302) 658-9200
 agaza@ycst.com                                       jblumenfeld@morrisnichols.com
 rvrana@ycst.com                                      jying@morrisnichols.com
 swilson@ycst.com                                     tmurray@morrisnichols.com
 Attorneys for Plaintiff                              Attorneys for Defendants


        SO ORDERED this 12th day of November 2024.



                                                      __________________________________
                                                      The Honorable Maryellen Noreika
                                                      United States District Judge




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